Case 2:05-cr-20206-.]TF Document 26 Filed 06/30/05 Page 1 of 2 Page|D 29

 

IN THE UNITED STATES DISTRICT coURT mw BY -~ D-O.
FoR THE WESTERN DIsTRlCT oF TEt~tl~zEssEt<"-05
WESTERN I)IVISION JUN 30 H 3= 56
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UNITED STATES oF AMERICA, ) U w/D%§ DYST§_‘CTMPYBT
Plaintiff, )
)

vs. ) cr. No. 05-20206-1)

)
)
REGINALI) sELLERS, )
Defendant. )

 

ORDER ON MOTION TO EXTEND TIME TO FILE MOTIONS

 

This matter came on to be heard upon motion by the defendant for an extension of time in
which to file motions. For good cause shown and without objection by counsel for the United States,
the motion is GRANTED. Defendant shall have until MONDAY, SEPTEMBER 5, 2005, to file
pre-trial motions in this cause.

IT ls so oRDERED this 323 day ofJune, 2005.

 

Federal District Court

this document entered on the docket sheet in co

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With Hu!e 55 and/or 32(b ) FHC:P on__L` "/'l@_§rg]

UNITED sTTEs DISTRIC COURT - WESERNT D"RITICT 0 TENNESSEE

   
 

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This notice confirms a copy of the document docketed as number 26 in
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Honorable Bernice Donald
US DISTRICT COURT

